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» .. IN THE UNITED STATES DISTRICT COURT -
FOR THE DISTRICT OF MARYLAND ©

UNITED STATES OF AMERICA * CRIMINAL NO. f B | -026 |

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CHERYL DIANE GLENN, *
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Defendant *

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MOTION TO UNSEAL INFORMATION AND CASE
Now comes the United States of America, by its attorneys, Robert K. Hur, United
States Attorney for the District of Maryland, and Derek E. Hines and Leo J. Wise, Assistant United
States Attorneys for said District, and respectfully moves this Court to Order that the Information
and the entire case be UNSEALED because the reasons for sealing the Information and case are

no longer applicable and the Defendant is aware of the charges against her.

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r=) Respectfully submitted,
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Be Robert K. Hur
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Derek E. Hines
Leo J. Wise

Assistant United States Attorneys
ORDERED, this RB day of December, 2019 that the Information and the entire case be
UNSEALED.

(06

The Honorable Catherine C. Blake
United States District Judge
